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                                                      THE HONORABLE JOHN C. COUGHENOUR
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                                UNITED STATES DISTRICT COURT
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                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9   UNITED STATES OF AMERICA,                               CASE NO. CR14-0181-JCC
10                             Plaintiff,                    ORDER
11          v.

12   ROBERT C. ADAMS, III,

13                             Defendant.
14

15          This matter comes before the Court on Defendant’s renewed motion for compassionate
16   release (Dkt. No. 219). Having thoroughly considered the briefing and the relevant record, the
17   Court finds oral argument unnecessary and hereby DENIES Defendant’s motion the reasons
18   explained below.
19          The Court described the facts of this case in its prior orders (Dkt. Nos. 193, 207, 216) and
20   will not repeat them here. In the instant motion (Dkt. No. 219), Defendant asks the Court to
21   reconsider its prior determination regarding the danger he poses to the community and whether
22   reducing his sentence would be appropriate in light of the factors set forth in 18 U.S.C.
23   § 3553(a). See U.S.S.G. § 1B1.13. See also United States v. Aruda, 993 F.3d 797, 802 (9th Cir.
24   2021). While the Court applauds Defendant’s efforts to secure educational opportunities and
25   seek work upon his release, none of the facts or argument Defendant presents warrant
26   reconsideration of the Court’s prior determination. Nor does it appear that Defendant has


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 1   satisfied the exhaustion requirement for a motion made directly to the Court. See 18 U.S.C.

 2   § 3582(c)(1)(A). The Court denies his renewed motion on both grounds.

 3          Accordingly, Defendant’s renewed motion for compassionate release (Dkt. No. 219) is

 4   DENIED. The Clerk is DIRECTED to send a copy of this order to Defendant.

 5          DATED this 25th day of October 2021.




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                                                         John C. Coughenour
 9                                                       UNITED STATES DISTRICT JUDGE
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